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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

MARY M LAILE,                                   :

                Plaintiffs,                     :     Case No. 2:19-cv-3689
                                                      Judge Michael H. Watson
                v.                              :     Chief Magistrate Judge Elizabeth P. Deavers

ANDREW K. MITCHELL, et al.,                     :

                Defendants.                     :


                                            ORDER

         The undersigned hereby recuses herself from the above-styled case. The Clerk is

DIRECTED to redraw the case for random reassignment to another United States Magistrate

Judge.

         IT IS SO ORDERED.


Date: August 26, 2019                           /s/ Elizabeth A. Preston Deavers
                                               ELIZABETH A. PRESTON DEAVERS
                                               UNITED STATES MAGISTRATE JUDGE
